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13
                                UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
15
      In re: CATHODE RAY TUBE (CRT)                     Master File No. 3:07-md-05944-SC (N.D.
16
      ANTITRUST LITIGATION                              Cal.)
17
                                                        MDL No. 1917
18    This Document Relates to: Individual Case
      No. 13-cv-2171 (SC)                               PROPOSED ORDER
19
      DELL INC. AND DELL PRODUCTS L.P.,
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21           PLAINTIFFS,

22           V.
23    HITACHI, LTD., ET AL.,
24
             DEFENDANTS.
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     PROPOSED ORDER                                                                      3:13-cv-02171-SC
                                                                                             MDL No. 1917
             Case 3:07-cv-05944-JST Document 4915 Filed 10/03/16 Page 2 of 2


 1          The Court having considered the stipulation of the parties, and good cause appearing therefore,
 2   orders as follows:
 3          1. All claims asserted by Dell Inc. and Dell Products L.P. against Defendants Samsung SDI
 4              Co., Ltd., Samsung SDI America, Inc., Samsung SDI (Malaysia) SDN. BHD., Samsung
 5              SDI Mexico S.A. DE C.V., Samsung SDI Brasil Ltda., Shenzen Samsung SDI Co., Ltd.,
 6              and Tianjin Samsung SDI Co., Ltd. in the underlying action are hereby dismissed with
 7              prejudice pursuant to FRCP 41(a)(2).
 8          2. Each party shall bear its own costs and attorneys’ fees.
 9          IT IS SO ORDERED.
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11           October 3, 2016
     Dated: _________________, 2016                             _______________________________
                                                                Honorable Jon S. Tigar
12                                                              United States District Judge

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     PROPOSED ORDER                                                                         3:13-cv-02171-SC
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